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		OSCN Found Document:RE SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS

					

				
  



				
					
					
						
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				RE SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2022 OK 21Decided: 03/07/2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 21, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

&nbsp;


&nbsp;


RE: Suspension of Certificates of Certified Shorthand Reporters




ORDER


The Oklahoma Board of Examiners of Certified Shorthand Reporters has recommended to the Supreme Court of the State of Oklahoma the suspension of the certificate of each of the Oklahoma Certified Shorthand Court Reporters listed on the attached Exhibit for failure to comply with the annual renewal requirements for 2022.

Pursuant to 20 O.S., Chapter 20, App. 1, Rules 20(c) and 23(d), failure to satisfy the annual renewal requirements on or before February 15 shall result in administrative suspension on that date.

IT IS THEREFORE ORDERED that the certificate of each of the court reporters named on the attached Exhibit is hereby suspended effective the date of this order.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 7TH day of MARCH, 2022.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.



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&nbsp;

Court Reporters Exhibit A

Ronda Case

Kortney Houts

Kim Idleman

Monique McAllister

Kimberly Morris

Connie Neer

Mark Woods





	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
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	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;2022 OK 44, RE REVOCATION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERSCited


	
	
	Citationizer: Table of Authority
	
	
		
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	None Found.
	
	








				
					
					
				

		
		




	
		
			
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